                 Case 3:07-cv-05525-JSW                       Document 4            Filed 10/30/2007               Page 1 of 1
O AO 120 (Rev. 2/99)

TO:      Mail Stop 8                                                                         REPORT ON THE
        Director of the U.S. Patent & Trademark Office                               FILING OR DETERMINATION OF AN
                         P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                  Alexandria, VA 22313-1450                                                    TRADEMARK

                       In Compliance with 35 § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
           filed in the U.S. District Court     Northern District of California    on the following      x   Patents or         G   Trademarks:
DOCKET NO.                       DATE FILED                        U.S. DISTRICT COURT
    CV 07-05525 BZ                            10/30/07                                      Northern District of California
PLAINTIFF                                                                   DEFENDANT
 JENS ERIK SORENSEN                                                          FIRST INTERNATIONAL DIGITAL



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1                                                                                             (See attached Complaint)

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                   In the above—entitled case, the following patent(s) have been included:
DATE INCLUDED                    INCLUDED BY
                                                         G
                                                     Amendment                G   Answer         G    Cross Bill          G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                   In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                        (BY) DEPUTY CLERK                                            DATE
                  Richard W. Wieking                                              Simone Voltz                                       October 31, 2007


Copy 1—Upon initiation of action, mail this copy to Commissioner Copy 3—Upon termination of action, mail this copy to Commissioner
Copy 2—Upon filing document adding patent(s), mail this copy to Commissioner Copy 4—Case file copy
